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                          IN T H E U N T E D S T A T E D B A N K R U P T C Y C O U R T
                         FOR T H E E A S T E R N DISTRICT OF PENNSYLVANIA


In re:

          SHARMIL M C K E E                                         Bankruptcy No.: 17-10941 ( J K F )

                          Debtor                                   Chapter 7

Michael K. Pearson,

                          Plaintiff,

          V.


Sharmil D. McKee,                                                  Adversary No. 18-0144

                          Defendant.


                     A P P E L L A N T ' S DESIGNATION AND I S S U E S P R E S E N T E D

         Appellant/Child Support Creditor Michael K. Pearson ("Child Support Creditor" or

"Creditor"), by and through his undersigned counsel, hereby designates the following a s parts of

the record he intends to reproduce:

   A. Parts of the Record Appellant Intends to Reproduce

          1.   Bankruptcy C a s e No. 17-10941 Qkf) Record Entry No. 52 - Order Approving

               Trustee's Report, discharging trustee and closing case. (Entered: 07/07/2017)

         2. Adversary C a s e No. 18-0144 Record Entry No. 1 - Adversary c a s e 18-00144.

               Complaint by Karin M. Gunter on behalf of Michael K Pearson against Sharmil

               McKee, inter alia (Entered: 06/25/2018).

         3. Adversary C a s e No. 18-00144 Record Entry No. 4 - Motion to Dismiss Adversary

               Proceedings Filed by Sharmil McKee Represented by Glenn Brown (Counsel), inter

               alia (Entered: 07/20/2018)



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       4. Adversary C a s e No. 18-00144 Record Entry No. 6 - Order Adversary Dismissing

           C a s e (Entered: 08/01/2018)

    B. Brief Statement of Issues Appellant Intends to Present for Review

        1. Whether the trial court erred a s a matter of law, and therefore abused its discretion,

           when it dismissed the adversary proceeding on August 1, 2018 alleging, in part, the

           underlying Appellee's underlying bankruptcy c a s e closed by order dated June 7,

           2017, when in fact the uncderlying bankruptcy c a s e did not close until July 7, 2017

           pursuant to 11 U.S.C. § 350(a).

       2. Whether the trial court erred a s a matter of law, and therefore abused its discretion,

           when it closed the adversary proceeding on August 1, 2018, denied Appellant the

           opportunity to respond to Appellee's motion to dismiss and failed to rule on those

           underlying pleadings

Appellant reserves the right to raise other issues he intends to present for review.

                                                     Respectfully submitted:

                                                     LAW O F F I C E O F KARIN M. GUNTER


                                                     Is/ Karin M. Gunter
                                                     Karin M. Gunter, Esquire
                                                     P a Supreme Court ID: 79852
                                                     85 Old Cedarbrook Road
                                                     Wyncote, P A 19095
                                                     (215) 548-9992 (ph)
                                                     (215) 548-7277 (f)




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                         IN T H E U N T E D S T A T E D B A N K R U P T C Y C O U R T
                        FOR T H E EASTERN DISTRICT OF PENNSYLVANIA

In re:

          SHARMIL M C K E E                                       Bankruptcy No.: 17-10941 ( J K F )

                         Debtor                                   Chapter 7

Michael K. Pearson,

                         Plaintiff,

         V.


Sharmil D. McKee,                                                 Adversary No. 18-0144

                         Defendant.


                                      CERTIFICATE OF SERVICE


         I, Karin M. Gunter, Esquire, do hereby certify that I served a true and correct copy of

Creditor Michael K. Pearson's Appellant's Designation and Issues Presented Appearance of

Child Support Creditor or Representative upon each of the following parties by the court's

electronic pursuant to Fed. R. Civ. P. 5(b)(2)(E):


The Honorable J e a n K. FitzSimon                       Pamela Elchert Thurmond, Esquire
Robert N.C. Nix Federal Courthouse                       City of Philadelphia Law/Revenue Dept
900 Market Street, Suite 203                             1401 J F K Boulevard, Room 580
Philadelphia, P A 19107                                  Municipal Services Building
                                                         Philadelphia, P A 19102
                                                         Counsel for Joseph Rotan, Witness

Sharmil Donzella McKee                                   Glenn A. Brown, Esquire
7441 Limekiln Pike, Apt B1                               Real World Law, P . C .
Philadelphia, PA 19138                                   6778 Market Street
Debtor                                                   Upper Darby, P A 19083
                                                         Counsel for Debtor




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Andrew Jason Coval, Esquire                        Lynn E . Feldman, Esquire
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1515 Market Street, Suite 1414                     221 N. Cedar Crest Blvd
Philadelphia, P A 19102                            Allentown, P A 18104
Counsel for Family Court of Philadelphia           Trustee




Date: August 24, 2018                              / s / Karin M. Gunter
                                                   Karin M. Gunter, Esquire
                                                   Counsel for Appellant, Michael K. Pearson




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